

People v Eubanks (2018 NY Slip Op 03100)





People v Eubanks


2018 NY Slip Op 03100


Decided on May 1, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 1, 2018

Renwick, J.P., Tom, Andrias, Webber, Kahn, JJ.


1088/12 6406A 1094/12 6406

[*1] The People of the State of New York, Respondent, 
vTrevis Eubanks, Defendant-Appellant.


Christina A. Swarns, Office of the Appellate Defender, New York (Daniel R. Lambright of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jeffrey A. Wojcik of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from judgments of the Supreme Court, New York County (Rena Uviller, J.), rendered October 15, 2013,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: MAY 1, 2018
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








